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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
                                      _
                                        )
U.S. SECURITIES AND EXCHANGE            )
COMMISSION,                             )
                                        )
                      Plaintiff,        )    Civil Action No.
                                        )
                 v.                     )    18-CV-
                                        )
EQUITYBUILD, INC., EQUITYBUILD          )
FINANCE LLC, JEROME H. COHEN, and       )
SHAUN D. COHEN,                         )
                                        )
                      Defendants.       )
                                        )

                            TEMPORARY RESTRAINING ORDER

       This cause coming to be heard on plaintiff U.S. Securities and Exchange Commission’s

(“SEC”) Emergency Motion for a Temporary Restraining Order to Prevent Violations of the

Federal Securities Laws, to Appoint a Receiver, and to Provide for Other Ancillary Relief (the

“TRO Motion”) against Defendants Equitybuild, Inc., Equitybuild Finance, LLC, Jerome Cohen,

and Shaun Cohen (collectively, “Defendants”), the Court having considered the TRO Motion, as

well as the SEC’s memorandum of law and accompanying evidentiary materials, the Complaint,

and the parties’ oral argument, if any, this Court finds that:

       A.      This Court has jurisdiction over the subject matter of this case and over

Defendants, and the SEC is a proper party to bring this action seeking the relief sought in its

Complaint;

       B.      There is good cause to believe that the SEC will ultimately succeed in

establishing that Defendants have engaged in and are likely to engage in transactions, practices

and courses of business that violate Sections 5(a), 5(c), and 17(a) of the Securities Act of 1933


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(“Securities Act”) [15 U.S.C. § 77e(a), e(c) and q(a)], Section 10(b) of the Securities Exchange

Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)], and Rule 10b-5 [17 C.F.R. § 240.10b-5]

thereunder;

        C.     There is good cause to believe that Defendants will continue to engage in such

transactions, acts, practices and courses of business and in such violations unless immediately

restrained and enjoined by Order of this Court;

        D.     There is good cause to believe that, unless restrained and enjoined, Defendants

will dissipate, conceal, or transfer from the jurisdiction of this Court, assets which could be

subject to an order of disgorgement;

        E.     Therefore, the SEC’s TRO Motion should be, and is, granted, as set forth more

fully below.

     IT IS THEREFORE ORDERED:

I.      ORDER RESTRAINING DEFENDANTS FROM VIOLATING
        SECTIONS 5(a), 5(c), and 17(a) OF THE SECURITIES ACT, SECTION 10(b)
        OF THE EXCHANGE ACT AND RULE 10b-5 THEREUNDER.

        A.     Defendants and each of their officers, agents, servants, employees, and attorneys

and those persons in active concert or participation with them who receive actual notice of this

Order by personal service or otherwise, including mail, facsimile transmission, overnight

delivery service, or electronic mail, are restrained from violating Sections 5(a) and 5(c) of the

Securities Act [15 U.S.C. § 77e(a) and (c)] by, directly or indirectly,


               (1)      Making use of means or instruments of transportation or communication

               in interstate commerce or of the mails to sell, through the use or medium of a

               prospectus or otherwise, securities as to which no registration statement was in

               effect; or


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               (2)     Making use of any means or instruments of transportation or

               communication in interstate commerce or of the mails to offer to sell or offer to

               buy, through the use or medium of a prospectus or otherwise, securities as to

               which no registration statement had been filed.

       B.      Defendants and each of their officers, agents, servants, employees, and attorneys

and those persons in active concert or participation with them who receive actual notice of this

Order by personal service or otherwise, including mail, facsimile transmission, overnight

delivery service, or electronic mail, are restrained from violating Section 17(a) of the Securities

Act [15 U.S.C. § 77q(a)] by, directly or indirectly, in connection with the offer or sale of any

security, through the use of the means or instrumentalities of interstate commerce or of the mails

or any facility of any national security exchange,

               (1)     employing any device, scheme or artifice to defraud;

               (2)     obtaining money or property by means of any untrue statement of a

                       material fact or any omission to state a material fact necessary in order to

                       make the statement made, in light of the circumstances under which they

                       were made, not misleading; or

               (3)     engaging in any transaction, practice, or course of business which operates

                       or would operate as a fraud or deceit upon the purchaser.

       C.      Defendants and each of their officers, agents, servants, employees, and attorneys

and those persons in active concert or participation with them who receive actual notice of this

Order by personal service or otherwise, including facsimile transmission, mail, overnight

delivery service, or electronic mail, are restrained from violating Section 10(b) of the Exchange

Act [15 U.S.C. § 78(j)(b)] and Rule 10b-5 thereunder [17 C.F.R. 240.10b-5] by, directly or



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indirectly, in connection with the purchase or sale of securities, through the use of the means or

instrumentalities of interstate commerce or of the mails or any facility of any national security

exchange,

                 (1)     employing any device, scheme or artifice to defraud;

                 (2)     making any untrue statement of a material fact or omitting to state a

                         material fact necessary in order to make the statements made, in the light

                         of the circumstances under which they were made, not misleading; or

                 (3)     engaging in any act, practice or course of business which operates or

                         would operate as a fraud or deceit upon any person.

II.       PROHIBITION AGAINST RAISING INVESTOR FUNDS

          Pending a final disposition of this action, Defendants, their agents, servants, employees,

attorneys, and those persons in active concert or participation with them who receive actual

notice of this Order, by personal service or otherwise, and each of them, are enjoined from,

directly or indirectly, soliciting any new investors or accepting additional funds from existing

investors.

III.      DOCUMENT PRESERVATION

          A.     Until further order of this Court, Defendants and each of their officers, agents,

servants, employees and attorneys and those persons in active concert or participation with them

who receive actual notice of this Order by personal service or otherwise, including mail,

facsimile transmission, electronic mail, or overnight delivery service, are hereby restrained from

destroying, mutilating, concealing, altering, disposing, or transferring custody of any items,

including but not limited to any books, records, documents, correspondence, contracts,

agreements, assignments, obligations, tape recordings, computer media or other property (1)



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relating to the conduct described in the Complaint, or any amendment thereto, filed by the SEC

in this action; or (2) pertaining in any way to investments in Equitybuild, Inc., Equitybuild

Finance, LLC or any other investment offered for sale by Defendants (these documents and data

are collectively referred to here as “Evidence”).

       B.      Such Evidence includes both “hard copy” versions and electronically-stored

information in Defendants’ possession, custody or control, including text files, data

compilations, word processing documents, spreadsheets, e-mail, voicemail, data bases, calendars

and scheduling information, log, file fragments and backup files, letters, instant messages,

memoranda, notes, drawings, designs, correspondence or communication of any kind. Evidence

that is stored electronically may be maintained on shared network files, computer hard drives,

servers, DVDs, CD-ROMs, flash drives, thumb drives, laptops, digital recorders, netbooks, PDA,

or other handheld/ smartphone devices.

       C.      The obligations set forth in Section III herein include an obligation by Defendants

to provide notice to all their employees, custodians, agents, or contractors who may be in

possession of Evidence. This duty also extends to the preservation and retention of Evidence in

the possession or custody of third-parties, such as an internet service provider or a cloud

computing provider, if such Evidence is within Defendants’ control.

       D.      Defendants are ordered to act affirmatively to prevent the destruction of Evidence.

This duty may necessitate: (1) quarantining certain Evidence to avoid its destruction or

alteration; or (2) discontinuing the recycling of backup tapes or other storage media, and the

deletion of emails, “trash,” “recycling,” “drafts,” “sent,” or “archived” folders.




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IV.      ACCOUNTING

         Pending a hearing on the SEC’s motion for preliminary injunction, each Defendant shall

serve upon the SEC’s counsel, within ten (10) calendar days of the date of this Order, or within

such extension of time as the SEC staff agrees to in writing or is otherwise granted by the Court,

a verified written accounting, signed under penalty of perjury by the individual Defendant or, in

the case of an entity Defendant, by the officer or employee of the entity most knowledgeable

about the entity’s financial condition, if any, providing the following information:

         (1) A list of all accounts at all banks, brokerage firms or financial institutions (including

             the name of the financial institution and name and last four digits of the account

             number), tax identification numbers, telephone or facsimile transmission numbers

             (including numbers of pagers and mobile telephones), electronic mail addresses,

             World Wide Web sites or Universal Records Locators, Internet bulletin board sites,

             online interactive conversational spaces or chat rooms, Internet or electronic mail

             service providers, street addresses, postal box numbers, safety deposit boxes, and

             storage facilities used or maintained by any one or more of the Defendants, or under

             their direct or indirect control, at any time from January 1, 2014 to the present.

         (2) All assets, liabilities and property currently held directly or indirectly by or for the

             benefit of Defendants, including, but not limited to, bank accounts, brokerage

             accounts, investments, business interests, loans, lines of credit, and real and personal

             property wherever situated, describing each asset and liability, its current location and

             amount;

         (3) All money, property, assets, and other income received by Defendants, or for the

             direct or indirect benefit of one or more of them, in or at any time from January 1,



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             2014, to the date of the accounting, describing the source, amount, disposition, and

             current location of each of the items listed;

        (4) All assets, funds, securities, and real or personal property of Defendants transferred to

             or for the benefit of any other person or entity from January 1, 2014, to the date of the

             accounting, including a description of each transferred asset, the name of the

             recipient, and the date of the transfer; and

        (5) The names and last known addresses of all bailees, debtors, and other persons and

             entities that are currently holding the assets, funds, or property of any one or more of

             the Defendants.

V.      EXPEDITED DISCOVERY

        A.      Immediately upon entry of this Order, the parties may take depositions upon oral

examination of parties and non-parties subject to seven calendar days’ notice. All parties shall

comply with the provisions of Rule 45 of the Federal Rules of Civil Procedure regarding

issuance and service of subpoenas and documents sought from nonparties, and such nonparties

shall be subject to at least seven calendar days’ notice. Parties failing to appear for a properly

noticed deposition shall be prohibited from introducing evidence at a hearing on the SEC’s

request for a preliminary injunction.

        B.      Immediately upon entry of this Order, the parties shall be entitled to serve

requests for the production of documents, requests for admissions, and interrogatories. Absent

agreement of the parties or an order of this Court, the parties shall respond to such discovery

requests and produce responsive documents by August 31.

        C.      Service of discovery requests shall be sufficient if made upon counsel of record

or, if there is no counsel of record, upon the party itself, by both email and overnight courier



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delivery. All responses to the SEC’s discovery, all discovery and pleadings, and all information

to which the SEC is entitled pursuant to the terms of this Order shall be delivered to Ariella O.

Guardi, Securities and Exchange Commission, Chicago Regional Office, by email at

guardia@sec.gov or by overnight or messenger courier delivery (175 W. Jackson Blvd., Suite

1450, Chicago, Illinois 60604, (312) 353-7390).

         D.    Defendants shall serve an answer or otherwise respond to the SEC’s Complaint

within 10 calendar days from the date of this Order. Should Defendant fail to serve an answer or

otherwise respond within such time, the Court shall deem the SEC’s allegations admitted for

purposes of the SEC’s request for a preliminary injunction.

         E.    Depositions may be taken by telephone or other remote electronic means.

         F.    Depositions taken pursuant to this Order shall not impact the number of

depositions the SEC may take in regular, non-expedited discovery.

VI.      ORDER FOR PRELIMINARY INJUNCTION HEARING

         A.    Defendants wishing to be heard on this matter shall appear in this Court, on the

SEC’s motion for preliminary injunction, before the Honorable Judge John Z. Lee at 10 a.m., on

the 17th day of September, 2018 in Courtroom 1225 of the United States District Court for the

Northern District of Illinois, or as soon thereafter as the matter can be heard, to show cause, if

there be any, why this Court should not enter a preliminary injunction and order preliminary

relief against Defendants, pursuant to Rule 65 of the Federal Rules of Civil Procedure, or

extending the temporary relief granted in this Order pending a final adjudication on the merits. .

VII.     OTHER RELIEF

         A.    Notice of this Order, or any other Orders of the Court or Notices required to be

issued by Plaintiff, may be accomplished by delivery of a copy of the Order or Notice by first class



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mail, overnight delivery, international express mail, facsimile, electronic mail, or personally, by

agents or employees of Plaintiff, (i) upon the Defendants or their attorneys; and (ii) upon any bank,

saving and loan institution, credit union, financial institution, transfer agent, broker-dealer,

investment company, title company, commodity trading company, storage company, or any other

person, partnership, corporation, or legal entity that may be subject to any provision of this Order.

         B.     This Court shall retain jurisdiction of this matter for all purposes.

         C.     Pursuant to Federal Rule of Civil Procedure 65(c), no security is required of the

SEC.

         D.     This Order shall be operative until further order of this Court.



VIII. PRESERVATION OF RIGHTS AND PRIVILEGES

         Nothing in this Order shall be construed to require that Defendants abandon or waive any

constitutional or other legal privilege which they may have available to them including any Fifth

Amendment privilege against self-incrimination. In turn, nothing in this Order shall prevent the

SEC from opposing or challenging any assertion by a Defendant of any Fifth Amendment

privilege against self-incrimination, or any other constitutional or other legal privilege.

IX.      ASSET FREEZE

         Pending a hearing on and determination of the SEC’s motion for a preliminary injunction,

Defendants and each of their financial and brokerage institutions, officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of such Order by personal service, facsimile service, telephonic notice,

email, or otherwise, and each of them, shall hold and retain within their control, and otherwise

prevent, any withdrawal, transfer, pledge, encumbrance, assignment, dissipation, concealment, or



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other disposal (including money, real or personal property, securities, commodities, choses in

action or other property of any kind whatsoever) of, held by, or under the direct or indirect

control of the Defendants, whether held in any of their names or for any of their direct or indirect

beneficial interest wherever situated, in whatever form such assets may presently exist and

wherever located within the territorial jurisdiction of the United States courts, and directing each

of the financial or brokerage institutions, debtors and bailees, or any other person or entity

holding such assets, funds or other property of the Defendants to hold or retain within its or his

or her control and prohibit the withdrawal, removal, transfer or other disposal of any such assets,

funds or other properties, including, but not limited to, the following accounts:




Account Title                     Institution Name                   Account Number
3400 Newkirk                                Wells Fargo                      ******3770
3400 Newkirk                                Wells Fargo                      ******4514
Hard Money Company
                                            Wells Fargo                     *********2858
LLC/Shaun Cohen
Hard Money Company
LLC/EquityBuild Finance                     Wells Fargo                     *********3077
(Escrow)
Hard Money Company
LLC/EquityBuild Finance                     Wells Fargo                     *********3226
(Fee Income)
Hard Money Company
                                            Wells Fargo                     *********3239
LLC/Equitybuild Finance
Hard Money Company
                                            Wells Fargo                     *********5561
LLC/Equitybuild Finance
Hard Money Company
LLC/EquityBuild Finance                     Wells Fargo                       ******8783
(Checking)
Hard Money Company
LLC/EquityBuild Finance                     Wells Fargo                       ******3721
(Checking)
Hard Money Company
LLC/EquityBuild Finance                     Wells Fargo                     *********5451
(Checking)
Hard Money Company                          Wells Fargo                       ******9081

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LLC/EquityBuild Finance
(Savings)
                                    Wells Fargo                 ******5298
Tikkun Holdings LLC
Cohen, Jerry and Schroyer-          Wells Fargo               *********3641
Cohen, Patricia
Cohen, Jerry                        Wells Fargo               *********6502
Cohen, Bernard and Cohen,
                                    Wells Fargo               *********4869
Jerry H
Cohen, Robert D and Cohen,
                                    Wells Fargo                 ******6260
Jerry
Cohen, Robert D and Cohen,
                                    Wells Fargo                 ******9729
Jerry
Schroyer-Cohen, Patricia and
                                    Wells Fargo               *********3641
Cohen, Jerry
Cohen, Shaun                        Wells Fargo               *********3299
Cohen, Shaun and Cohen,
                                    Wells Fargo               *********5078
Eldebran
Cohen, Shaun                        Wells Fargo               *********9075
Cohen, Shaun                        Wells Fargo               *********1671
Cohen, Shaun                        Wells Fargo               *********4395
Cohen, Shaun                        Wells Fargo                 ******2626
Cohen, Shaun                        Wells Fargo                 ******4781
Cohen, Shaun                        Wells Fargo                 ******7034
Cohen, Shaun and Cohen,
                                    Wells Fargo               *********1671
Eldebran
Cohen, Eldebran and Cohen,
                                    Wells Fargo               *********7856
Shaun
EquityBuild                         Wells Fargo               *********7110
                                    Wells Fargo               *********1708
EquityBuild
                                    Wells Fargo                 ******6992
EquityBuild
EquityBuild                         Wells Fargo                 ******4649
EquityBuild                         Wells Fargo                 ******6976
EquityBuild                         Wells Fargo               *********8478
EquityBuild (BusinessLine
                                    Wells Fargo              ************3082
Mastercard)
EquityBuild DBA 6759 S.
                                    Wells Fargo                 ******3274
Indiana Associates
11117 S Longwood LLC                Wells Fargo
11318 S Church St Associates        Wells Fargo                 ******8703
1632 Shirley LLC                    Wells Fargo
1700 Juneway LLC                    Wells Fargo


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2136 W 83RD LLC                    Wells Fargo                 ******6117
2136 W 83RD LLC                    Wells Fargo                 ******6262
2537 N McVicker LLC                Wells Fargo                 ******6125
4520 S Drexel LLC                  Wells Fargo
4533-37 S Calumet LLC              Wells Fargo
4528 Michigan LLC                  Wells Fargo                 ******6133
4528 Michigan LLC                  Wells Fargo                 ******6254
4750 Indiana LLC                   Wells Fargo                 ******2039
4755 S Saint Lawrence
                                   Wells Fargo                 ******2021
Associates
4755 S Saint Lawrence
                                   Wells Fargo                 ******8913
Associates
5001 S Drexel LLC                  Wells Fargo
5411 W Wrightwood LLC              Wells Fargo                 ******6273
6951 S Merrill LLC                 Wells Fargo                  ****3316
7107-29 S Bennett LLC              Wells Fargo                 ******8711
7109 S Calumet LLC                 Wells Fargo                  ****6236
7922 S Luella LLC                  Wells Fargo                 ******5242
7927-49 S Essex LLC                Wells Fargo
7933 S Kingston LLC                Wells Fargo                 ******5234
7945 S Kenwood LLC                 Wells Fargo                 ******2575
8104 S Kingston LLC                Wells Fargo                 ******8157
8104 S Kingston LLC                Wells Fargo                 ******8905
8153 S Avalon LLC                  Wells Fargo                 ******0334
8153 S Avalon LLC                  Wells Fargo                 ******2153
8217 Dorchester LLC                Wells Fargo
8311 S Green LLC                   Wells Fargo                 ******8058
8432 S Throop Associates           Wells Fargo                 ******1530
8432 S Throop Associates           Wells Fargo                 ******3945
8725 S Ada LLC                     Wells Fargo                 ******4004
8745 S Sangamon LLC                Wells Fargo                 ******0409
8745 S Sangamon LLC                Wells Fargo                 ******7918


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8801 S Bishop St Associates        Wells Fargo                 ******2088
8801 S Bishop St Associates        Wells Fargo                 ******6304
8801 S Bishop St Associates        Wells Fargo                 ******4498
8801 S Bishop St Associates        Wells Fargo                 ******9873
9158 S Dobson LLC                  Wells Fargo                 ******4061
Chicago Capital Fund I LLC         Wells Fargo                  **** 5116
Chicago Capital Fund II LLC        Wells Fargo                  ****5264
EB South Chicago 1 LLC             Wells Fargo
EB South Chicago 2 LLC             Wells Fargo
EB South Chicago 3 LLC             Wells Fargo                  ****2851
Hybrid Capital Fund LLC            Wells Fargo                  ****1783
South Shore Property               Wells Fargo
Holdings LLC
South Side Development
                                   Wells Fargo
Fund 1 LLC
South Side Development
                                   Wells Fargo
Fund 2 LLC
South Side Development
                                   Wells Fargo
Fund 3 LLC
South Side Development
                                   Wells Fargo
Fund 4 LLC
South Side Development
                                   Wells Fargo
Fund 5 LLC
South Side Development
                                   Wells Fargo
Fund 6 LLC
South Side Development
                                   Wells Fargo
Fund 7 LLC
South Side Development
                                   Wells Fargo
Fund 8 LLC




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SO ORDERED at 6:10 p.m. CST this 17th day of August, 2018 by




Entered:
8/17/18
                                               John Z. Lee
                                               United States District Judge




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